Case 6:11-cr-00043-RWS-JDL           Document 109         Filed 09/09/11     Page 1 of 2 PageID #:
                                            230



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                             §
                                                      §
 V.                                                   §               CASE NO. 6:11cr43
                                                      §
 PENNI SUE MOONEY                                     §

             ORDER ADOPTING THE REPORT AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE


        By order, the undersigned referred this matter to the Honorable John D. Love, United States

 Magistrate Judge, at Tyler, Texas, for administration of a guilty plea under Rules 11 and 32 of the

 Federal Rules of Criminal Procedure. Judge Love conducted a hearing in the form and manner

 prescribed by Federal Rule of Criminal Procedure 11 and the Honorable John D. Love issued his

 Report and Recommendation of the United States Magistrate Judge [Clerk’s doc. #104]. The

 Magistrate Judge recommended that the Court accept Defendant’s guilty plea and conditionally

 approve his plea agreement. He further recommended that the undersigned finally adjudge

 Defendant as guilty on Count One of the Information against Defendant in this cause.

        The parties have not objected to the magistrate judge’s findings. The Court is of the opinion

 that the Report and Recommendation should be accepted. It is accordingly ORDERED that the

 Report and Recommendation [Clerk’s doc. #104] of the United States Magistrate Judge is

 ADOPTED.




                                                -1-
Case 6:11-cr-00043-RWS-JDL         Document 109       Filed 09/09/11     Page 2 of 2 PageID #:
                                          231




        It is further ORDERED that the Defendant’s guilty plea is accepted and approved by the

 Court.
   .    Further, the plea agreement is approved by the Court, conditioned upon a review of the

 presentence report. It is finally ORDERED that, pursuant to the Defendant’s plea agreement, the

 Court finds the Defendant GUILTY of Count One of the Information in the above-numbered

 cause and enters a JUDGMENT OF GUILTY against the Defendant as to Count One of the

 Information.

       It is SO ORDERED.

       SIGNED this 9th day of September, 2011.




                                                      ____________________________________
                                                      MICHAEL H. SCHNEIDER
                                                      UNITED STATES DISTRICT JUDGE




                                              -2-
